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2                                                     16-305
3                                    UNITED STATES DISTRICT COURT
4                                           DISTRICT OF NEVADA
5                                                       ***
6     UNITED STATES OF AMERICA,
7                           Plaintiff,                     2:16-cr-00305-KJD-VCF
8     vs.                                                  ORDER
                                                           [ECF Nos. 37, 38 & 40]
9     KAREEN ANDERSON,

10                          Defendant.

11           Before the Court are Defendant Anderson's Motion to Reconsider, Motion to Dismiss and for
12   Appointment of Counsel, and Motion for Permission to Appear in Family Court (ECF Nos. 37, 38 and
13   40). Defendant Anderson filed these motions on his own behalf.
14           Mr. Hendron, Esq. was appointed as counsel of record on November 3, 2016. (ECF No. 10). He
15   is currently Defendant's counsel and has not withdrawn from this matter. Id.
16           Pursuant to Local Rule IA 11-6(a), “[a] party who has appeared by attorney cannot while so
17   represented appear or act in the case. This means that once an attorney makes an appearance on behalf of
18   a party, that party may not personally file a document with the court; all filings must thereafter be made
19   by the attorney.” Lance J. Hendron, Esq. is defendant’s counsel of record and has not filed a motion to
20   withdraw as counsel; thus, defendant may not file motions on his own behalf. See Local Rule IA 11-6(a).
21           Accordingly, IT IS HEREBY ORDERED that Defendant Anderson's Motion to Reconsider,
22   Motion to Dismiss and for Appointment of Counsel, and Motion for Permission to Appear in Family Court
23   (ECF Nos. 37, 38 and 40) are DENIED.
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1            The Clerk of Court is directed to strike the Motion to Reconsider, Motion to Dismiss and for

2    Appointment of Counsel, and Motion for Permission to Appear in Family Court (ECF Nos. 37, 38 and

3    40).

4            DATED this 5th day of January, 2017.
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5                                                             CAM FERENBACH
                                                              UNITED STATES MAGISTRATE JUDGE
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